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 FOR PUBLICATION

                       UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY



  UNITED STATES OF AMERICA,                               Civ. No. 2:15-6442 (WJM)

                Plaintiff,
                                                                   OPINION
         v.

  $1,879,991.64 PREVIOUSLY
  CONTAINED IN SBERBANK OF
  RUSSIA’S INTERBANK OR
  CORRESPONDENT BANK ACCOUNT
  NUMBERS 0004403077 AND 0004169401,
  HELD AT DEUTSCHE BANK TRUST
  COMPANY AMERICAS,

                Defendant in rem.



 WILLIAM J. MARTINI, U.S.D.J.:

         Sberbank of Russia (“Sberbank”) seeks a stay of the instant forfeiture action filed
 by the United States of America. Sberbank also moves for the entry of an order requiring
 the Department of Justice to expedite its review of the bank’s request to have the
 forfeiture action terminated. For the reasons that follow, Sberbank’s motion will be
 DENIED.

 I.     BACKGROUND

        This action largely arises out of a separate criminal proceeding in which
 Alexander Brazhnikov Jr. (“Brazhnikov”) pled guilty to conspiracy to commit money
 laundering, conspiracy to smuggle goods into the United States, and conspiracy to violate
 the International Emergency Economic Powers Act. See Criminal Docket, Crim. No.
 2:15-300, ECF No. 27. As part of his plea agreement, Brazhnikov admitted to unlawfully
 exporting restricted items to Russian purchasers. Brazhnikov further admitted to

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 concealing his illicit operation by making false statements and engaging in wire fraud.
 See id. Specifically, Brazhnikov created numerous shell companies, the sole purpose of
 which was to funnel unlawfully gotten funds to various bank accounts that he owned and
 operated. Complt. at ¶ 18.

         Of particular relevance here are three transfers made by one of the shell companies
 to two personal bank accounts that Brazhnikov held at Sberbank, which represents itself
 to be the largest bank in Russia and one of the largest banks in the world. See Sberbank
 Mot. at 8. According to the Department of Justice, the shell company transferred a total
 amount of $1,880,000 to Brazhnikov’s Sberbank accounts. Id. at ¶23.

        After conducting an investigation, federal authorities successfully petitioned for a
 federal magistrate judge to issue 11 seizure warrants for various bank accounts held by
 Brazhhnikov, including a seizure warrant for $1,880,000 in Sberbank’s interbank account
 held at Deutsche Bank Trust Company Americas. See id. at ¶ 24. The $1,880,000 figure
 held in the interbank account paralleled the amount of funds held in Brazhnikov’s
 Sberbank accounts. On June 26, 2014, the FBI executed the seizure warrant, and the
 interbank funds were seized. See id.

         Upon learning that its funds were seized, Sberbank submitted an administrative
 petition to the Attorney General, which sought to terminate the forfeiture pursuant to 18
 U.S.C. § 981(k)(1)(B). See Sberbank Mot. at Ex. A. By way of background, Section
 981(k)(1)(B) provides that the Attorney General, in consultation with the Secretary of the
 Treasury, may terminate a forfeiture proceeding where certain circumstances are present.
 Sberbank’s petition was later transferred to the Asset Forfeiture & Money Laundering
 Section of the United States Department of Justice, Criminal Division (“AFMLS”). See
 id. at Ex. C. According to Sberbank, AFMLS has largely been nonresponsive to the
 bank’s requests; however, the record shows that on August 5, 2015, an AFMLS attorney
 notified Sberbank that the Department of Justice was reviewing its petition. Additionally,
 on August 27, 2015, the Department of Justice served special interrogatories on Sberbank
 concerning the assets at issue. AFMLS sent additional correspondence to Sberbank at the
 end of 2015 and the beginning of 2016. See Sberbank Mot., Exs. C, E-G.

        On June 11, 2015, Brazhnikov pled guilty to the alleged offenses. Shortly
 thereafter, the United States initiated the instant forfeiture action pursuant to 18 U.S.C. §
 981, et seq. Through this action, the United States seeks the forfeiture of $1,879,991.64
 previously contained in Sberbank’s interbank account. ECF No. 1. On October 15,
 2015, Sberbank filed a claim regarding the interbank funds pursuant to Rule G(5) of the
 Supplemental Rules for Admiralty or Maritime and Asset Forfeiture Claims, the Federal
 Rules of Civil Procedure, and 18 U.S.C. § 983(a)(4)(A). See ECF No. 4. Sberbank then
 filed an answer to the United States’ complaint on November 5, 2015. See ECF No. 5.
 The answer states, among other things, that “Sberbank is a completely innocent party –
 an innocent owner – under the facts of this case.” See Answer at 6. The answer further

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 notes that Russia’s bank secrecy laws prevent Sberbank from disclosing account balances
 and customer transaction records. See, e.g., id. at 9. Therefore, Sberbank cannot confirm
 nor deny any alleged deposits into its accounts, nor can it “demonstrate that [it] may have
 discharged all or part of its obligations to any depositor (including Brazhnikov, Jr.) prior
 to the seizure.” Id.

        Sberbank now moves for this Court to stay the forfeiture proceedings.
 Additionally, Sberbank asks this Court to order the Attorney General to respond to the
 Section 981(k)(1)(B) petition within thirty days. The United States opposes Sberbank’s
 motion.

 II.    DISCUSSION
        In order to adequately address the instant motion, the Court must first examine the
 statutory provisions governing the type of civil forfeiture at issue in this case. Then, the
 Court will determine whether Sberbank is entitled to the relief it seeks.
             A. § 981(k)

        The parties agree that this proceeding is governed by 18 U.S.C. § 981. The parties
 also agree that the funds at issue were seized from an interbank account of a foreign
 financial institution, and consequently, special statutory provisions governing such
 accounts will be of particular relevance in this case. See 18 U.S.C. § 981(k). An
 interbank account is defined as “an account held by one financial institution at another
 financial institution primarily for the purpose of facilitating customer transactions.” 18
 U.S.C. § 981(k)(4)(A); 18 U.S.C. § 984(c)(2)(B). In the context of Section 981,
 interbank accounts are treated the following way:

        “[I]f funds are deposited into an account at a foreign financial
        institution…and that foreign financial institution has an interbank account in
        the United States with a covered financial institution…, the funds shall be
        deemed to have been deposited into the interbank account in the United
        States, and any restraining order, seizure warrant, or arrest warrant in rem
        regarding the funds may be served on the covered financial institution, and
        funds in the interbank account, up to the value of the funds deposited into the
        account at the foreign financial institution, may be restrained, seized, or
        arrested.”

 18 U.S.C. § 981(k)(1)(A). Therefore, the United States contends, because Brazhnikov’s
 Sberbank accounts held an amount of funds that was subject to forfeiture, that same
 amount can be seized from Sberbank’s interbank account and made subject to forfeiture.

       The Government enjoys broad powers under 18 U.S.C. § 981(k). First, the statute
 provides that if a forfeiture action is brought against funds that have been seized from an

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 interbank account, “it shall not be necessary for the Government to establish that the
 funds are directly traceable to the funds that were deposited into the foreign financial
 institution….” 18 U.S.C. § 981(k)(2). Therefore, the Government need not show that the
 funds seized from Sberbank’s interbank account are in any way traceable to the funds that
 were deposited into Brazhnikov’s own accounts. See United States v. Union Bank for
 Savings & Investment (Jordan), 487 F.3d 8, 16 (7th Cir. 2007) (“[t]he funds in the
 interbank account are forfeitable even if those funds have no connection to the forfeitable
 funds deposited in the foreign account.”)

         Moreover, the statute allows only a narrow category of persons or entities to
 challenge a forfeiture in court. Only “the owner of the funds deposited into the account
 at the foreign financial institution…may contest the forfeiture….” See 18 U.S.C. §
 981(k)(4)(3); see also United States v. Sum of $70,990,605 et al., 128 F.Supp.3d 350, 355
 (D.D.C. 2015) (“Sum of $70,990,605 II”) (statute must be read to allow only an “owner”
 to challenge forfeiture). Therefore, in cases like this, only the “owner” has statutory
 standing to file a claim under 28 U.S.C. § 983. Sum of $70,990,605 II, 128 F.Supp.3d at
 357 (“Because only ‘owners’ may file claims under § 981(k), being an ‘owner’ is a
 requirement for statutory standing in a forfeiture action under that subsection.”).
 However, the term “owner,” as defined in the statute, does not include the foreign
 financial institution – in this case, Sberbank – unless either of the following
 circumstances are present:

    (I)    the basis for the forfeiture action is wrongdoing committed by the foreign
           financial institution; or
    (II)   the foreign financial institution establishes, by a preponderance of the
           evidence, that prior to the restraint, seizure, or arrest of the funds, the
           foreign financial institution…had discharged all or part of its obligation
           to the prior owner of the funds, in which case the foreign financial
           institution…shall be deemed the owner of the funds to the extent of such
           discharged obligation.

 See 18 U.S.C. § 981(k)(4)(B)(ii)(I)-(II). Because Sberbank is adamant that “it is a
 completely innocent party,” and federal authorities have not suggested otherwise, only
 the second exception is potentially in play. Moreover, as the statute provides, Sberbank
 must prove that the second exception applies by a preponderance of the evidence. 18
 U.S.C. § 981(k)(4)(B)(ii)(II); United States v. Sum of $70,990,605, 305 F.R.D. 20, 24
 (D.D.C. 2015) (“Sum of $70,990,605 I”).

         If Sberbank cannot prove that the second exception applies, it does not have
 standing to challenge the forfeiture action in court. See U.S. v. $387,825,000 in U.S.
 Currency, 484 F.3d 662 (3d Cir. 2007)(“In order to stand before a court and contest a
 forfeiture, a claimant must meet both Article III and statutory standing requirements”
 (citing United States v. $8,221,877.16 in U.S. Currency, 330 F.3d 141, 150 n. 9 (3d Cir.

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 2003))). That does not mean, however, that Sberbank would be completely without
 recourse. Under Section 981, a foreign financial institution that does not qualify as an
 “owner” may request that the Attorney General suspend or terminate a forfeiture. The
 Attorney General “may” terminate or suspend the forfeiture if she determines that (1) a
 conflict of law exists between the United States and the home state of the foreign
 financial institution concerning liabilities that result from the seizure and forfeiture of the
 interbank funds; and (2) “such suspension or termination would be in the interest of
 justice and would not harm the national interests of the United States.” 18 U.S.C. §
 981(k)(1)(B).

         Section 981(k) is a tough pill for foreign financial institutions to swallow, and that
 is exactly what Congress intended. Indeed, Congress enacted Section 981(k) through the
 PATRIOT ACT, which was part of a broader legislative effort to enhance and augment
 the power of law enforcement to combat terrorism. See USA PATRIOT ACT Pub.L.
 107-56 (2001). Prior to the enactment of Section 981(k), the federal government had
 considerable difficulty in seizing ill-gotten funds that were held in foreign accounts. See
 H.R. Rep. 107-250(I), at 57 (“[Section 981(k)] is necessary to reconcile the law regarding
 the forfeiture of funds in bank accounts with the realities of global movement of
 electronic funds and the use of off-shore banks to insulate criminal proceeds from
 forfeiture.”) While law enforcement could seize interbank funds during the old regime,
 foreign financial institutions were often successful in asserting an “innocent owner”
 defense through a Section 983 claim, which in turn would result in the termination of the
 forfeiture proceeding. See 147 Cong.Rec. 510547—01. By significantly limiting the
 ability of foreign financial institutions to contest the forfeiture of interbank funds, Section
 981(k) makes it easier for the Government to successfully pursue illicit funds that have
 been deposited into foreign bank accounts.

       Having discussed the legal framework that will guide its decision, the Court will
 now address Sberbank’s motion.

               B.      Sberbank’s Motion
        Sberbank’s motion must be denied for three reasons. First, Sberbank does not
 have statutory standing to contest forfeiture. Second, the Court is not empowered to
 interfere with the Attorney General’s discretionary authority under Section 981(k)(1)(B).
 Third, even if Sberbank did have statutory standing and this Court was empowered to
 issue a directive to the Attorney General, a stay would not be warranted.
          i.    Statutory Standing
         First, Sberbank has not demonstrated that it has statutory standing to contest these
 forfeiture proceedings. “In order to stand before a court and contest a forfeiture, a
 claimant must meet both Article III and statutory standing requirements.” U.S. v.
 $487,825.000 in U.S. Currency, 484 F.3d 662, 664 (3d Cir. 2007) (citing United States v.

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 $8,221,877.16 in U.S. Currency, 330 F.3d 141, 150 n. 9 (3d Cir. 2003)). “The term
 ‘statutory standing’ relates to a claimant’s ability to show that he has satisfied whatever
 statutory requirements Congress has imposed for contesting a civil forfeiture action in
 federal court….” Sum of $70,990,605 I, 305 F.R.D. at 23 (citations and quotations
 omitted). As already explained, because Sberbank is a foreign financial institution, it
 does not have standing to contest the Government’s forfeiture action unless it proves, by
 a preponderance of the evidence, that it discharged its obligations to Brazhnikov prior to
 the seizure of the funds at issue. 18 U.S.C. § 981(k)(4)(B)(ii)(II).
         Sberbank has not produced a scintilla of evidence suggesting that it had discharged
 its obligations to Brazhnikov prior to the seizure of the funds. In fact, in a
 correspondence to the Government, Sberbank conceded as such, acknowledging that “it
 is left without any means to avail itself of due process through the court system” and
 must instead resort to an administrative challenge under Section 981(k)(1)(B). See
 Sberbank Mot., Ex A.
         Additionally, the Government has sought to gather more information by serving
 Sberbank with special interrogatories that concern Brazhnikov’s account activity.
 However, it appears that Sberbank will object to some of those interrogatories on the
 grounds that they seek disclosures that are barred under Russian bank secrecy laws.
 Sberbank Mot. at 8 n.2.1 Therefore, Sberbank wants to have it both ways: on one hand, it
 asks this Court to suspend forfeiture proceedings through the issuance of a stay; on the
 other, it seems intent on withholding information that may be relevant to whether it has
 statutory standing to seek judicial relief in the first place. While the Court recognizes that
 Sberbank is currently seeking a stay as opposed to relief under Section 983, it is apparent
 that the instant motion seeks an end-run around Section 981(k)’s narrow statutory
 standing requirements.
        Moreover, even if Russia’s bank secrecy laws make contesting forfeiture more
 onerous, the Court is not convinced that Sberbank is entitled to a reprieve from what
 Section 981(k) mandates. Indeed, if the Court were to consider the unique banking laws
 of a foreign financial institution in the context of a Section 981(k) forfeiture, the entire
 statutory scheme envisioned by Congress would be frustrated. Criminals would seek to
 evade the United States Government’s broad Section 981(k) powers by gravitating to
 foreign institutions that operate under strict bank secrecy laws. Similarly, a handful of
 foreign financial institutions may embrace stricter bank secrecy regimes in order to avoid
 Section 981(k) and, in turn, encourage suspicious deposits. See Sum of $70,990,605 II,
 128 F.Supp.3d 350, 365 (considering foreign banking laws in context of interbank
 account forfeitures “would frustrate the congressional purpose underlying § 981(k)”).
 Therefore, the Court declines to read a “safe harbor” provision into Section 981(k) for
 foreign banks that are subject to strict bank secrecy laws.


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   United States Magistrate Judge Mark Falk has indicated that the due date for Sberbank’s responses to those special
 interrogatories will be held in abeyance until the instant motion is decided.

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         In further support of its motion, Sberbank relies on Sum of $70,990,605 I. That
 decision, however, is readily distinguishable from the case at bar. In Sum of $70,990,605
 I, the foreign financial institution sought discovery from the Government that would be
 relevant to whether the institution had statutory standing to challenge a Section 981(k)
 forfeiture. The Government objected to the discovery requests on the grounds that the
 foreign financial institution had not met its burden for proving statutory standing and
 therefore was precluded from participating in the litigation. See 305 F.R.D. at 24. With
 respect to discovery requests that were relevant to the question of statutory standing, the
 magistrate judge presiding over the matter sided with the foreign financial institution. In
 doing so, the court held that the institution was entitled to receive information that would
 potentially allow it to demonstrate standing under Section 981. See id. at 27. Here,
 Sberbank does not simply seek discovery that goes to the issue of statutory standing.
 Instead, it seeks to leapfrog the statutory standing requirement altogether by suspending
 this forfeiture proceeding without having to prove that it is an “owner” as defined in
 Section 981(k)(4)(B). The relief Sberbank seeks is therefore wholly distinguishable from
 what the foreign financial institution sought in Sum of $70,990,605 I. Consequently, the
 Court rejects Sberbank’s position.
           ii.    Section 981(k)(1)(B)
        Setting aside the issue of statutory standing, it is also apparent that the Court does
 not have the authority to grant the type of relief Sberbank seeks. In addition to seeking a
 stay, Sberbank requests that the Court order the Attorney General to decide the bank’s
 Section 981(k)(1)(B) petition within thirty days. Through the use of permissive
 language, Congress has vested the Attorney General with broad discretion in deciding
 whether to suspend or terminate a forfeiture under Section 981(k)(1)(B). See 18 U.S.C.
 981(k)(1)(B) (“The Attorney General…may suspend or terminate a forfeiture under this
 section….”)(emphasis added). Therefore, even if the circumstances described in Section
 981(k)(1)(B) were present, the Attorney General would not be required to suspend or
 terminate forfeiture. Cf. Tucker v. U.S. Postal Service, 676 F.2d 954, 957 (3d Cir. 1982)
 (the use of “may” in a statute indicates that a certain action is permitted, but not
 mandatory). It thus follows that the Attorney General has broad discretion not only in
 deciding whether to terminate or suspend forfeiture, but also in deciding when she should
 act on a Section 981(k)(1)(B) petition. If the Court were to order that Sberbank’s petition
 be resolved within thirty days, it would essentially negate the broad latitude that Congress
 has vested in the Attorney General. Cf. U.S. v. Hossbach, 518 F.Supp. 759, 767 (E.D.Pa.
 1980) (“[A] court may not usurp the legislative function by taking away from the
 executive branch powers plainly, unambiguously, lawfully and constitutionally granted
 by Congress.”)2 Accordingly, Sberbank’s motion must be denied.


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  Moreover, as largely explained in the foregoing section, granting Sberbank’s motion for a stay would effectively
 “suspend” this forfeiture proceeding. However, where statutory standing has not been established, as is the case
 here, only the Attorney General is empowered to take such action. See 18 U.S.C. § 981(k)(1)(B). Usurping the
 Attorney General’s power in this area would also contravene the will of Congress.

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        iii.    The Substantive Merit of a Stay

         Even if the above-described impediments did not exist, the Court would
 nonetheless conclude that a stay is not warranted. “The power to stay is incidental to the
 power inherent in every court to dispose of cases so as to promote their fair and efficient
 adjudication.” See U.S. v. Breyer, 41 F.3d 884, 893 (3d Cir. 1994) (citing Gold v. Johns-
 Manville Sales Corp., 723 F.2d 1068, 1077 (3d Cir. 1983). District courts enjoy “wide
 discretion” in determining whether a stay is appropriate, and “absent a patent abuse of
 that discretion,” a court’s decision of whether to stay a case will seldom be disturbed.
 See Gold, 724 F.3d at 1077 (citing Will v. Calvert Fire Ins. Co., 437 U.S. 655, 665-66
 (1978)). In determining whether to grant a stay, courts in the Third Circuit have taken
 into account a number of factors, including (1) the length of the stay; (2) the balance of
 harm to the parties; (3) the interests of the public ; and (4) the interests of judicial
 economy. See, e.g., Akishev v. Kapustin, 23 F.Supp.3d 440, 446 (D.N.J. 2014);
 ImageVision.Net, Inc. v. Internet Payment Exchange, Inc., Civ. No. 12-054, 2012 WL
 5599338, *3 (D.Del. Nov. 15, 2012); Morgenstern v. Fox Television Stations of Phila.,
 Civ. No. 08-0562, 2010 WL 2331069, at *1-2 (E.D. Pa. Feb 23, 2010).

         While the requested length of the stay – thirty days – is not substantial, the
 remaining factors militate against granting Sberbank’s motion. First, the balance of harm
 to both the parties and the public strongly disfavors the issuance of a stay. Issuing a stay
 would infringe upon the discretionary authority of the Attorney General, who has been
 entrusted to make important judgments regarding how the government’s forfeiture
 powers may implicate issues that concern our national security and foreign policy. It is
 well established that courts should be skeptical of wading into those areas, as they are
 best left to the political branches of our government. Cf. Harris v. Kellogg Brown &
 Root Services, Inc., 724 F.3d 458, 478 (3d Cir. 2013) (cautioning that courts should avoid
 getting involved in foreign policy decisions that are best left to the political branches).

         By contrast, in the absence of a stay, the harm to Sberbank will be relatively
 minimal. First, AFLMS is actively considering Sberbank’s request. In fact, on January
 13, 2016, AFLMS sent Sberbank a letter asking a number of questions relevant to
 whether forfeiture should be terminated. See Sberbank Reply. At Ex. G. Those questions
 are in addition to the special interrogatories that were served on Sberbank in December of
 2015. See Sberbank Mot. at Ex. F. Therefore, while the Attorney General’s review may
 not be as swift as Sberank would like, it is nonetheless apparent that Sberbank’s motion is
 being actively considered. Additionally, there is nothing to indicate that completion of
 the forfeiture action is imminent, nor is there any suggestion that Sberbank will not
 receive a response from the Attorney General before this action concludes.

        Moreover, Sberbank has not offered any compelling arguments for why the public
 interest supports a stay. In fact, because Congress has deemed it appropriate to vest that
 power in the Attorney General, granting Sberbank’s motion would actually work against
 the public interest. Cf. Herrera-Castanola v. Lynch, --- Fed.Appx. ----, 2016 WL

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 1004470, *1 (9th Cir. 2016) (finding that a judicial act would not be in the public interest
 where it would frustrate Congress’ intent). This is especially true with respect to Section
 981(k), which is designed to serve the public interest by enhancing law enforcement’s
 ability to combat certain crimes. See Sum of $70,990,605 II, 128 F.Supp. at 365 (relaxing
 Section 981(k) requirements “would severely harm the public interest”).

        Finally, Sberbank does not adequately explain how issuing a stay would be in the
 interest of judicial economy. Instead, Sberbank provides a cursory explanation of why it
 believes its petition to the Attorney General will ultimately be successful. However, the
 Court cannot make such a determination based on the scant record before it. Finding no
 other basis for the issuance of a stay, the Court will deny Sberbank’s motion.

 III.   CONCLUSION

      For the foregoing reasons, Sberbank’s motion is DENIED. An appropriate order
 accompanies this opinion.

                                                        /s/ William J. Martini
                                                    WILLIAM J. MARTINI, U.S.D.J.

 Date: May 10, 2016




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